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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         FAYETTEVILLE DIVISION



CRIMINAL NO. 12-50038-001                USA v. GINA MEJIA-SANCHEZ

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

Clerk: GAIL GARNER                       Deft. GREG VARDAMAN

Reporter: GAIL GARNER                    Interpreter: DEBBIE ANDRADE


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)    Inquiry made that defendant is not under influence of
            alcohol or drugs and is able to comprehend proceedings.
     (X)   Inquiry made whether defendant is under the care of a
            physician or taking any medication and is able to
            comprehend proceedings.
     (X)    Inquiry made that defendant is satisfied with counsel.
     (X)    Court determined that defendant and counsel have had
            opportunity to read and discuss presentence investigation
            report.
     (X)   Presentence investigation report reviewed in open court.
     (X)    Court expresses final approval of plea agreement.
     (X)    Government moves for downward departure pursuant to
            5K1.1 - granted by court and 2-level departure awarded.
     (X)    Counsel for defendant afforded opportunity to speak on
            behalf of defendant.
     (X)    Defendant afforded opportunity to make statement and
            present information in mitigation of sentence.
     (X)    Attorney for government afforded opportunity to make
            statement to court.
     (X)    Court proceeded to impose sentence as follows:

           46 months imprisonment; no supervised release to
           follow; $10,000.00 fine - interest waived.
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     (X)   Defendant ordered to pay total special assessment of
           $100.00, for count 3, which shall be due immediately.
     (X)   Counts 1 and 2 dismissed on motion by the government.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Defendant remanded to the custody of the USMS.



DATE: FEBRUARY 7, 2013                   Proceeding began: 10:40 AM

                                                        ended: 11:11 AM
